          Case 1:21-cv-01081-RAH Document 7 Filed 03/19/21 Page 1 of 2




           In the United States Court of Federal Claims
                                           No. 21-1081C
                                      (Filed: March 19, 2021)

                                                )
 WINSTON V. EDMONDS,                            )
                                                )
                         Plaintiff,             )
                                                )
 v.                                             )
                                                )
 UNITED STATES,                                 )
                                                )
                         Defendant.             )
                                                )

                                              ORDER

        On March 15, 2021, Winston V. Edmonds, who is currently incarcerated in Arizona State
prison for a criminal conviction under Arizona law, filed a complaint in this court pro se alleging
that his conviction has been set aside by a Commissioner of the Arizona Superior Court. The
plaintiff accordingly seeks damages for a wrongful conviction pursuant to 28 U.S.C. § 2513. His
complaint seeks damages of $270 million.

        Along with his complaint, the plaintiff has moved for leave to proceed in forma pauperis.
Although the Court generally has the authority to authorize a plaintiff to proceed in forma
pauperis, pursuant to 28 U.S.C. § 1915(a)(1), a prisoner is not permitted to proceed in forma
pauperis if he has “on 3 or more prior occasions, while incarcerated . . . brought an action or
appeal in a court of the United States that was dismissed on the grounds that it . . . fails to state a
claim upon which relief may be granted, unless the prisoner is under imminent danger of serious
physical injury.” Id. § 1915(g).

         The plaintiff has filed in the District of Arizona at least four cases that were dismissed for
failure to state a claim. As a result of these four dismissals, earlier this year he was denied the
ability to proceed in forma pauperis in this court under 28 U.S.C. § 1915(a)(1). Edmonds v.
United States, No. 20-2080C, 2021 WL 71547 (Fed. Cl. Jan. 7, 2021). In the opinion denying
the plaintiff the ability to proceed in forma pauperis, Judge Solomson recounted the four Arizona
cases dismissed for failure to state a claim. See id. at *1.

        Pursuant to 28 U.S.C. § 1915(g), because the plaintiff has previously filed at least three
complaints that were dismissed as frivolous, malicious, or for failure to state a claim, and
because the plaintiff’s instant complaint fails to demonstrate that he is under imminent threat of
serious physical injury, the plaintiff would normally be required to pay the $402 filing fee to
proceed with this action.
          Case 1:21-cv-01081-RAH Document 7 Filed 03/19/21 Page 2 of 2




        In this case, however, the Court notes that even if the plaintiff were to remit the filing fee,
his claim would be futile. As Judge Solomson noted in dismissing the plaintiff’s claim in
January of this year, Edmonds, 2021 WL 71547, at *1, this court is without jurisdiction to
consider claims for innocence based on convictions for violations of state laws; rather, this court
can only entertain claims for wrongful convictions arising under federal law and predicated on
convictions in federal court. See 28 U.S.C. § 1495 (providing that this court “shall have
jurisdiction to render judgment upon any claim for damages by any person unjustly convicted of
an offense against the United States and imprisoned.”) (emphasis added). As Judge Solomson
noted, because the plaintiff was convicted under Arizona law, this court is without jurisdiction to
hear his claim.

       Accordingly, rather than direct the plaintiff to remit the filing fee, the Court sua sponte
DISMISSES the complaint for lack of jurisdiction. The Clerk is directed to enter judgment
accordingly.

       It is so ORDERED.

                                                                       s/ Richard A. Hertling
                                                                       Richard A. Hertling
                                                                       Judge
